     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 1 of 13 PageID #:70



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

STELLA PATERAKOS, M.D.,                               )
                                                      )     Case No. 21 cv 0052
                Plaintiff,                            )
v.                                                    )     Hon. Sarah L. Ellis
                                                      )
CITY OF CHICAGO et al.,                               )     Magistrate Judge Gabriel A. Fuentes
                                                      )
                Defendants.                           )

                DEFENDANT CITY OF CHICAGO’S MOTION TO DISMISS
                 COUNTS III, IV AND V OF PLAINTIFF’S COMPLAINT

        Defendant City of Chicago (“the City”), through its attorney, Celia Meza, Acting

Corporation Counsel of the City of Chicago, moves to dismiss Counts III, IV and V of Plaintiff's

Complaint pursuant to Fed. R. Civ. P. 12(b)(6). In support of this motion, the City submits the

following.

I.      Introduction

        Plaintiff Stella Paterakos, M.D. ("Paterakos"), an Assistant Community Living Specialist with

the City's Department of Family and Support Services, claims the City suspended her because of her

race (Caucasian) and/or age in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e et seq. ("Title VII"), the Age Discrimination in Employment Act, 29 U.S.C. § 621 et seq. ("the

ADEA")1 and the Civil Rights Act of 1871, 42 U.S.C. § 1983 ("Section 1983"). Paterakos also claims

the City interfered with and/or retaliated against her for taking intermittent leave under the Family

and Medical Leave Act, 29 U.S.C. § 2601 et seq. ("the FMLA"). The Section 1983 claim in Count III

should be dismissed because Paterakos fails to factually support the element of discriminatory intent

and fails to state a basis for municipal liability under Monell v. Department of Social Services of the City of


1Paterakos asserts her age discrimination claim under Title VII (Complaint at ¶ 85) but the City addresses
Count II as if it had been brought under the ADEA.
      Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 2 of 13 PageID #:71



New York, 436 U.S. 658 (1978). The FMLA claims in Count IV and V should be dismissed because

Paterakos admits she was never denied FMLA leave and that Defendants disciplined her because

they believed she misused FMLA leave. Further, Paterakos fails to state a claim for punitive damages

in any of the Counts asserted against the City.

II.     Allegations of the Complaint

        Paterakos has been employed as an Assistant Community Living Specialist with the City's

Department of Family and Support Services since July 2012. Complaint, CM/ECF # 1

("Complaint") at ¶¶ 5, 16. Commencing on March 20, 2020, Defendant and former Regional

Director Crystal Warren ("Warren") began to manage a call center in City Hall where Paterakos

worked. Id. at ¶¶ 21, 30. On her first day, Warren allegedly "harassed" Paterakos for working at a

desk other than her own and for taking a lunch break later than scheduled. Id. at ¶¶ 21-22. In the

following days, Warren allegedly followed Paterakos to the bathroom and questioned whether

Paterakos had requested permission to go on break. Id. at ¶¶ 24, 27, 32. Paterakos alleges her African

American co-workers were not required to request permission to go on break and were allowed to

use a bathroom in the basement of City Hall. Id. at ¶¶ 26, 29, 34. On May 12, 2020, Paterakos

received a one-day suspension for allegedly leaving her desk without authorization, not setting her

phone to "not ready" when she left her desk, failing to return on time from breaks, rest periods and

lunches, and using the City's facilities and work time to conduct non-City business. Id. at ¶¶ 36, 42.2

        On about April 2, 2020, Deputy Commissioner Yolanda Curry detailed Paterakos to a

second call center during a meeting at which Warren was present. Complaint at ¶ 30. Paterakos




2 The Notice of Progressive Discipline for Paterakos' one-day suspension is attached to this motion as
Exhibit 1. The Court may consider the notice without converting this motion into one for summary
judgment as the suspension is expressly referenced in the Complaint and serves as the basis of Plaintiff's
claims. Fryman v. Atlas Financial Holdings, Inc., 462 F. Supp. 3d 888, 894 (N.D. Ill. 2020).


                                                       2
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 3 of 13 PageID #:72



claims her African American co-workers were not assigned to the second call center. Id. at ¶ 31.

After Paterakos contacted her union, she was re-assigned back to City Hall a week later. Id.

        On May 19, 2020, Warren questioned Paterakos about talking on her personal cell phone

while at her desk. Complaint at ¶ 43. Paterakos stated she needed to "use her FMLA time" to make

and receive calls at her desk because her father was critically ill with Covid 19. Id. Warren allegedly

told Paterakos that she should make personal calls during her lunch periods and breaks, away from

her desk, or to schedule FMLA time in advance if needed. Id. Paterakos agreed to do so. Id.

        On June 26, 2020, Paterakos was suspended for three days for allegedly failing to complete

an assignment while working remotely from home, despite multiple calls, voice mails and emails.3

Complaint at ¶ 46-47. Paterakos claimed she watched a webinar the week before, and that she

ultimately complied with Warren's order and watched a portion of the webinar while working

remotely on June 3, 2020. Id.

        On July 10, 2020, Warren allegedly watched Paterakos exit a bathroom and print a document

before Paterakos returned to her desk. Complaint at ¶ 50. On July 16, 2020, Warren questioned why

Paterakos was in the office late, despite a prior email instructing employees to leave no later than

4:45 p.m. Id. at ¶ 51. Paterakos explained she was "finishing up some work." Id. Warren followed

and watched Paterakos leave the office but did not question another African American co-worker

who left at the same time. Id. Warren again watched Paterakos leave the office on July 17, 2020. Id.

at ¶ 52. Paterakos does not allege any adverse consequences as a result of these incidents.

        Paterakos was approved to take intermittent FMLA leave on several dates in July 2020.

Complaint at ¶ 55. On August 17, 2020, Paterakos was served with notice of a pre-disciplinary


3 The Notice of Progressive Discipline for Paterakos' three-day suspension is attached to this motion as
Exhibit 2. The Court may consider the notice without converting this motion into one for summary
judgment as the suspension is expressly referenced in the Complaint and serves as the basis of Plaintiff's
claims. Fryman, 462 F. Supp. 3d at 894.


                                                       3
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 4 of 13 PageID #:73



hearing for allegedly abusing FMLA leave after she was seen socializing around City Hall. Id. at ¶¶

53, 55. Paterakos claims she was not given an opportunity at the pre-disciplinary hearing to explain

that she conversed with others while waiting to make or receive telephone calls relating to her

father's care. Id. at ¶¶ 55, 56. On September 9, 2020, Paterakos was suspended for five days for

abusing FMLA leave and returning late from approved leave.4 Id. at ¶¶ 60-61.

        On August 28, 2020, Warren sent a report of the number of calls employees answered

between August 24 and August 27, 2020. Complaint at ¶ 57. Paterakos alleges that she answered a

comparable number of calls as her African American co-workers who received good reviews - after

accounting for the number of hours she "was available . . . to answer phones." Id. Warren noted

Paterakos' performance and production were "very low" and "needed improvement." Id. Paterakos

claims Warren deliberately falsified the number of hours Paterakos "was available" to answer calls in

an attempt to humiliate and discredit her. Id. at ¶¶ 57, 59.

        On September 23, 2020, Warren allegedly told Paterakos that she needed to ask her for

permission to go on break given the absence of Paterakos' direct supervisor. Complaint at ¶ 62.

African American employees allegedly did not have to notify a supervisor when taking a break. Id. at

¶ 63. On September 25, 2020, Paterakos took a break without permission as no supervisor was

present. Id. at ¶ 64. Warren arrived two minutes later and allegedly ordered Paterakos back into the

building. Id. Paterakos claims she was humiliated and embarrassed. Id.

        On October 2, 2020, Warren allegedly told police officers stationed at City Hall that

Paterakos abused FMLA leave, had been suspended and "would be fired soon." Complaint at ¶ 67.

Warren allegedly told the officers that if they continued to socialize with Paterakos during work

4
  The Notice of Progressive Discipline for Paterakos' five-day suspension is attached to this motion as
Exhibit 3. The Court may consider the notice without converting this motion into one for summary
judgment as the suspension is expressly referenced in the Complaint and serves as the basis of Plaintiff's
claims. Fryman, 462 F. Supp. 3d at 894.


                                                       4
       Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 5 of 13 PageID #:74



hours, Warren's department would raise the matter with police management. Id. The same day,

Paterakos filed a charge with the Equal Employment Opportunity Commission ("the EEOC"). Id. at

¶¶ 13, 68. Paterakos also complained to Warren's superiors that Warren violated discrimination laws

and the FMLA by harassing her and making false accusations against her. Id. at ¶ 69.

         On December 11, 2020, Warren allegedly sent an email accusing Paterakos of abusing

FMLA leave by socializing in City Hall. Complaint at ¶ 72. Paterakos responded that she properly

used FMLA leave to converse with other City employees between telephone calls or while waiting

for transportation. Id.

         On January 5, 2021, Paterakos filed a five-count Complaint against the City and Warren. In

Count I, Paterakos alleges the City subjected her to "unwarranted" scrutiny and discipline because

she is Caucasian in violation of Title VII. Complaint at ¶ 81. In Count II, Paterakos claims the City

discriminated against her because of her age in violation of the ADEA. Id. at ¶ 86. In Count III,

Paterakos asserts the City and Warren subjected her to unequal treatment in violation of the

Fourteenth Amendment pursuant to Section 1983. In Counts IV and V, Paterakos asserts FMLA

interference and retaliation claims, respectively, against the City and Warren. Id. at ¶¶ 101, 110. For

the reasons set forth below, Counts III, IV and V should be dismissed for failure to state a claim.

III.     Standard of Review

         To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009), quoting Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007). The “plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Iqbal, 556 U.S. at 678, quoting Twombly, 550 U.S. at 556.

         The plausibility standard must be met with more than mere conclusory allegations. “A

pleading that offers labels and conclusions or a formulaic recitation of the elements of a cause of


                                                       5
      Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 6 of 13 PageID #:75



action will not do.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted). Legal conclusions and

conclusory allegations merely reciting the elements of the claim are not entitled to the presumption

of truth and can be disregarded when evaluating whether the complaint pleads a claim. Id. at 678-79.

IV.     Argument

        a.      Paterakos fails to state a claim pursuant to Section 1983 in Count III.

                1.       Failure to factually allege discriminatory intent under Section 1983

       To state a claim under Section 1983, “a plaintiff must allege the violation of a right secured by

the Constitution and laws of the United States, and must show that the alleged deprivation was

committed by a person acting under color of state law.” L.P. v. Marian Catholic High School, 852 F.3d

690, 696 (7th Cir. 2017); Dyson v. City of Calumet City, 306 F. Supp. 3d 1028, 1035 (N.D. Ill. 2018). To

plead a claim under the Equal Protection Clause, Paterakos must also allege facts, not conclusions,

demonstrating an invidious intent to discriminate on the basis of race or age. Comcast Corp. v. National

Association of African American-Owned Media, -- U.S. -- , 140 S. Ct. 1009, 1019 (2020) ("a [Section 1981]

plaintiff must initially plead and ultimately prove that, but for race, it would not have suffered the

loss of a legally protected right"); Sung Park v. Indiana University School of Dentistry, 692 F.3d 828, 832

(7th Cir. 2012) (affirming dismissal of Section 1983 equal protection claim based on conclusory

assertion of discriminatory intent); Jafree v. Barber, 689 F.2d 640, 643 (7th Cir. 1982) ("[t]o sufficiently

state a [Section 1981] cause of action the plaintiff must allege some facts that demonstrate that his

race was the reason for the defendant's inaction"); Linda Construction, Inc. v. Allied Waste Industries,

2017 WL 1196889 at *6 (N.D. Ill. March 31, 2017) (dismissing Section 1981 and 1983 claims

premised on "bald and hackneyed assertion" that defendants treated plaintiff differently than White-

owned businesses).

       Here, Paterakos alleges only conclusions of an intent to discriminate. See Complaint at ¶¶ 90,

92. In paragraph 90, for example, Paterakos baldly alleges “Defendants intentionally subjected


                                                      6
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 7 of 13 PageID #:76



Plaintiff to unequal and discriminatory treatment . . . .” Id. at ¶ 90. Likewise in paragraph 92,

Paterakos claims “The actions of Defendants were intentional, willful, and malicious and/or in

deliberate indifference for Plaintiff’s rights . . . .” Id. at ¶ 92. These conclusions are “precisely the

type of allegation that was rejected in Ashcroft v. Iqbal, 556 U.S. 662, 678 . . . (2009).” Sung Park v.

Indiana University School of Dentistry, supra, 692 F.3d at 832. See also Linda Construction, Inc. v. Allied

Waste Industries, supra, 2017 WL 1196889 at *6; Stone v. Board of Trustees of Northern Illinois University, 38

F. Supp. 3d 935, 948 (N.D. Ill. 2014) (noting differences in pleading discriminatory intent under

Section 1983 and Title VII).

      Paterakos notes a single incident in which Warren stated that Paterakos was “too privileged”

for Warren to speak to her. Complaint at ¶ 38. Paterakos alleges she subjectively interpreted this

comment to refer to "white privilege." Id. Given Paterakos' admission that she previously refused to speak

to Warren without a union representative present (id. at ¶ 32), Warren's alleged remark fails to

plausibly demonstrate hostility towards Caucasians as a group. Compare, Simpson v. Beaver Dam

Community Hospitals, Inc., 780 F.3d 784, 791 (7th Cir. 2015) (references to plaintiff as a "bad actor,"

that he was not on his "best behavior" and would be a "better fit" elsewhere did not reflect illegal

motivation); Hanners v. Trent, 674 F.3d 683, 694 (7th Cir. 2012) (plaintiff's subjective belief of racial

animus insufficient to create genuine issue); Clay v. Interstate National Corp., 900 F. Supp. 981, 990-91

(N.D. Ill. 1995) (term "you people" hopelessly ambiguous and insufficient to raise a genuine issue on

summary judgment).

      Paterakos also notes that her African American co-workers were not required to obtain

permission to go on break and could use a bathroom in the basement of City Hall. Complaint at ¶¶

26, 29, 34. But that is where the comparison ends, because nowhere does Paterakos allege any co-

worker was allowed to engage in the same misconduct for which Paterakos was disciplined. See id. at ¶ 42 and

attached Exhibit 1 (failing to notify of absences or to set phone to "not ready" when absent from


                                                        7
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 8 of 13 PageID #:77



desk, returning late from breaks, use of City facilities for personal purposes), ¶ 48 and attached

Exhibit 2 (failing to complete telework assignment), ¶ 61 and attached Exhibit 3 (socializing during

FMLA leave and failing to return on time from leave). Accordingly, Paternakos' Section 1983 claim

in Count III should be dismissed for failure to factually support the element of discriminatory intent.

                   2.     Failure to allege a basis for municipal liability under Section 1983

         The claim against the City in Count III must also be dismissed for failure to state a basis for

municipal liability. A Section 1983 claim against a municipality requires factual allegations

establishing (a) an express policy that, when enforced, causes a constitutional deprivation, (b) a

widespread custom or practice that is so permanent and settled as to constitute a custom or usage

with the force of law, or (c) the act of a person with final policymaking authority. Monell v. Department

of Social Services of the City of New York, 436 U.S. 658 (1978); Palka v. City of Chicago, 662 F.3d 428, 434

(7th Cir. 2011).

         Here, the City's express policies prohibit discrimination based on race or age, so Paternakos

cannot rely on an express policy to support her Monell claim in Count III. See Municipal Code of

Chicago ("MCC") § 2-74-080 (prohibiting discrimination based on race and age); City of Chicago

Personnel Rule V §§ 1-5 (prohibiting discrimination, harassment or retaliation based on race or

age).5

         Paternakos also fails to allege any facts suggesting City policymakers tacitly authorized a

widespread, known practice of discrimination in direct contravention to the City's express policies.

5 The Court may take judicial notice of the City's ordinance and Personnel Rules on this Rule 12(b) motion
to dismiss without converting it to a motion for summary judgment. Newcomb v. Brennan, 558 F.2d 825, 829
(7th Cir. 1977) (city ordinances proper subjects for judicial notice); Dennis v. Dunlap, 330 F.3d 919, 926-27 (7th
Cir. 2003) (taking judicial notice of information on government website); Demick v. City of Joliet, 108 F. Supp.
2d 1022, 1025 (N.D. Ill. 2000) (taking judicial notice of city ordinances and rules). The City's Personnel Rules
can be accessed at:
https://www.chicago.gov/content/dam/city/depts/dhr/supp_info/HRpolicies/2014_PERSONNEL_RUL
ES-FINAL_2014_v3.pdf.


                                                        8
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 9 of 13 PageID #:78



Indeed, Paterakos does not even offer a conclusion of an implied City policy to discriminate based on

race or age. See Complaint at ¶¶ 90-93. Such an unsupported conclusion would be futile in any

event. Courts have rejected threadbare recitals of the existence of a custom or widespread practice

that are unsupported by specific factual content. See Gill v. City of Milwaukee, 850 F.3d 335, 344 (7th

Cir. 2017); See McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011); Petropoulos v. City of

Chicago, 2020 WL 1433826 at *4 (N.D. Ill. March 24, 2020); Duminie v. Northeast Illinois Regional

Commuter Railroad Corp., 2020 WL 1288876 at *7 (N.D. Ill. March 19, 2020). Peterakos offers no

factual content suggesting an implied policy for purposes of her Monell claim in Count III.

        Paternakos appears to rely on the “final policymaker” prong of Monell to support her claim

in Count III. See Complaint at ¶ 10 ("Defendant Warren was delegated with final policy making

authority with regard to her acts and conduct alleged herein"). The allegation that Warren was a final

policymaker of the City is a non-binding legal conclusion on this motion to dismiss. Iqbal, 556 U.S.

at 678. Indeed, the conclusion directly contradicts Seventh Circuit precedent. See Waters v. City of

Chicago, 580 F.3d 575, 581 (7th Cir. 2009) (City Council and Commissioner of Human Resources are

the final policymakers for the City in the area of employment); Auriemma v. Rice, 957 F.2d 397, 401

(7th Cir. 1992) (CPD Superintendent not a final policymaker with respect to alleged discriminatory

promotions); Durkin v. City of Chicago, 199 F.Supp.2d 836, 843 (N.D. Ill. 2002) (CPD supervisors not

final policymakers regarding sexual harassment). Paternakos' Monell claim premised on Warren's

status as a final policymaker for the City fails as a matter of law.

      This case is not comparable to Vodak v. City of Chicago, 639 F.3d 738 (7th Cir. 2011), where the

Police Superintendent was found to have been delegated final policymaking authority with respect to

the manner of controlling mass demonstrations. Id. at 748. Here, the action sought to be imputed as

official policy of the City is discrimination in employment - a matter on which the City Council and

Commissioner of Human Resources have spoken - and spoken in a manner directly contrary to


                                                      9
    Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 10 of 13 PageID #:79



Warren's alleged actions. See City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (“When an

official’s discretionary decisions are constrained by policies not of that official’s making, those

policies, rather than the subordinate’s departures from them, are the act of the municipality”).

Paterakos fails to state a Monell claim based on Warren's alleged status as a final policymaker for the

City. For these reasons, Count III of the Complaint should be dismissed with prejudice.

        c.       Peterakos admits she was never denied a leave or benefit to support her claim
                 for FMLA interference in Count IV.

        Under the FMLA, an employer may not “interfere with, restrain, or deny the exercise of or

the attempt to exercise” rights granted under subchapter I of the Act. 29 U.S.C. § 2615(a)(1). “To

state an FMLA interference claim, a plaintiff must show that ‘(1) she was eligible for the FMLA’s

protections; (2) her employer was covered by the FMLA; (3) she was entitled to take leave under the

FMLA; (4) she provided sufficient notice of her intent to take leave; and (5) her employer denied her

FMLA benefits to which she was entitled.’” Stallworth v. Loyola University Chicago, No. 14 C 7084, 2016

WL 3671426 at *3 (N.D. Ill. July 11, 2016), quoting Goelzer v. Sheboygan County, 604 F.3d 987, 993 (7th

Cir. 2010).

        An FMLA interference claim requires that the employer denied the employee FMLA rights

to which the plaintiff was entitled. Nicholson v. Pulte Homes Corp., 690 F.3d 819, 827 (7th Cir. 2012)

(affirming summary judgment on FMLA interference claim partially on ground that employer never

declined a request for leave); McGee v. City of Chicago, No. 11 C 2512, 2011 WL 4382484 at *6 (N.D.

Ill. Sept. 16, 2011), citing de la Rama v. Illinois Department of Human Services, 541 F.3d 681, 687 (7th Cir.

2008). Actions that do not result in the denial of rights or benefits, such as discipline which does not

interfere with taking leave, fail to state a claim for FMLA interference. Douglas v. Lofton, No. 12 C

8592, 2013 WL 2156053 at *3 (N.D. Ill. May 17, 2013).

          Paterakos admits she was never denied a request to take FMLA leave. Complaint at ¶ 75

("Plaintiff's FMLA requests were approved each time"), ¶ 100 ("Defendants approved Plaintiff for

                                                      10
    Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 11 of 13 PageID #:80



intermittent FMLA leave"). Paterakos claims Defendants interfered with her rights because she was

subjected to "unwarranted disciplinary actions and suspensions." Complaint at ¶ 101. But as in

Douglas, Paterakos does not allege the suspensions prevented or discouraged her from taking further

leave. See e.g. Complaint at ¶ 72 (December 2020 leave following September suspension). For this

reason, the FMLA interference claim in Count IV should be dismissed with prejudice.

       d.      Paterakos admits she was disciplined for alleged abuse of leave, defeating her
               FMLA claims in Counts IV and V.

       The FMLA claims in Counts IV and V also should be dismissed because Paterakos admits

the City disciplined her for abusing FMLA leave, not for the fact that Paterakos took leave. An

employer does not violate the FMLA if the employer disciplines an employee because the employer

believes that the employee misused time granted under the Act. Scruggs v. Carrier Corp., 688 F.3d 821,

825-27 (7th Cir. 2012) (FMLA interference and retaliation claims defeated by employer's honest

suspicion of FMLA abuse); Vail v. Raybestos Products Co., 533 F.3d 904, 909-910 (7th Cir. 2008)

(employer's honest suspicion confirmed by observing employee working for husband's lawn mowing

business on day she requested FMLA leave for migraine headache); Crouch v. Whirlpool Corp., 447

F.3d 984, 986 (7th Cir. 2006) (employer had honest suspicion of FMLA abuse where employee's

request for leave due to injured knee followed a denial of vacation time and employee observed

performing yard work on day off); Hamm v. Nestlé USA, Inc., No. 12 cv 2427, 2013 WL 4401328 at

*7 (N.D. Ill. Aug. 15, 2013) (reasonable suspicion of abuse where employee's request for a floating

holiday was denied, followed by notice of FMLA leave to take father to doctor's appointment which

was not scheduled until after Plaintiff was informed that no appointment had been scheduled). This

standard applies even if the employer is mistaken in its suspicion of an employee's misuse of FMLA

leave. Hamm, 2013 WL 4401328 at *7.

       Here, Paterakos affirmatively alleges and admits she was disciplined for alleged abuse of

FMLA leave after she was observed socializing around City Hall during the hours she was on leave.

                                                  11
    Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 12 of 13 PageID #:81



See Complaint at ¶¶ 55, 61, 67, 72 and attached Exhibit 3 (five day suspension for socializing outside

of City Hall for two to three hours on each of three days and swiping in 22 to 52 minutes late after

leave). Paterakos admits the facts underlying the suspension. She admits she socialized with other

employees during the hours while she was on FMLA leave. Complaint at ¶ 60 and attached Exhibit

3 ("You claimed to be waiting on your physician to call"); ¶ 72 ("Plaintiff responded that she was

using her FMLA as intended and having a discussion with other employees between phone calls or

waiting for her ride were not F?MLA abuses"). She does not contest she returned late after taking

leave. Id. at ¶ 60 and attached Exhibit 3. Although Paterakos maintains that conversing with others

between phone calls was a proper use of FMLA leave, she alleges no facts suggesting that Warren

and the City did not believe otherwise. And for purposes of the Act, it does not matter whose

interpretation of the Act was correct as a legal matter. Paterakos pleads no facts plausibly suggesting

Defendants did not believe Paterakos misused FMLA leave and disciplined her for that reason.

Accordingly, Counts IV and V of the Complaint should be dismissed with prejudice.

        e.      Paterakos' request for punitive damages against the City must be stricken.

        The City is immune on any claim for punitive damages under Title VII, the ADEA and

Section 1983. 42 U.S.C. § 1981a(b)(1); City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981)

(Section 1983); Passananti v. Cook County, 689 F.3d 655, 677 (7th Cir. 2012) (Title VII); Collins v.

Chicago Transit Authority, No. 19 cv 5591, 2020 WL 5819871 at *3 (ADEA). Furthermore, punitive

damages are not an available remedy under the FMLA. 29 U.S.C. § 2617(a)(1); Taylor v. Metropolitan

Water Reclamation District of Greater Chicago, No. 15 cv 7855, 2020 WL 1503642 at *14 (N.D. Ill. March

30, 2020); Therefore, any request for punitive damages against the City in Counts I through V

should be stricken and dismissed with prejudice.




                                                    12
     Case: 1:21-cv-00052 Document #: 11 Filed: 03/26/21 Page 13 of 13 PageID #:82



V.      Conclusion

        For the foregoing reasons, the Defendant City of Chicago respectfully requests the Court

dismiss Counts III, IV and V of the Complaint, with prejudice, and other relief the Court deems

appropriate.



Dated: March 26 , 2021                       Respectfully submitted,

                                             CELIA MEZA
                                             Acting Corporation Counsel of the City of Chicago

                                             By: s/ Mark J. Bereyso
                                             Mark J. Bereyso
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                                             Attorney for Defendant City of Chicago




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                                                 13
